Action by Ernest Harrison to review findings and order of the Industrial Commission refusing to set aside a compromise agreement upon which an award was entered October 27, 1942.  From a judgment dismissing the action for want of jurisdiction, the plaintiff appeals.
Plaintiff injured his right eye on May 30, 1942.  He was an employee of Knutson  Company.  The injury to the eye grew worse, and on August 6, 1942, he consulted a doctor. He was thereafter examined by several doctors, all of whom tried to remove a substance from his eye but could not do so. He and his attorney were informed that the substance in his eye was not steel or iron but was copper or brass.  Plaintiff was not working for his employer on brass or copper at the time of the injury.  And this created a probability that the injury to the eye had not occurred on the date he alleged and was not within the scope of his employment.  Upon this state of facts, the plaintiff compromised his claim for compensation for the sum of $2,625, plus $200 surgical fee and $50 hospital fee, and the amount due Dr. Hill for services to the date of settlement.  The compromise was made and the stipulation signed in September, 1942, and approved by the commission. *Page 107 
The stipulation for final compromise and settlement and petition for an award read in part as follows:
"It is the contention of the employer and insurer that the said foreign body did not lodge in the employee's eye on the said 30th day of May or at any other time during the course of said employment.  That the nature of the said employee's work was not such as would cause injury such as the employee suffers.  That the condition now found in said employee's eye could not have resulted in the short time between May 30th and August 6th and that the said foreign body is a condition of long standing. . . .  Therefore, it is the position of the said employer and insurers that the said employee's injury did not occur in the course of his said employment or arise therefrom."
After the compromise was made, there was an operation and it was found necessary to remove the eyeball.  Upon dissection a foreign body of either steel or iron was found imbedded in the sclera.
On April 1, 1943, plaintiff applied to the Industrial Commission to set aside the compromise agreement and the award entered thereon.  On June 24, 1943, the examiner found that at the time of making the compromise on which the order was entered there was a valid dispute between the parties; that the compromise had been entered into in good faith and that nothing occurred thereafter which was not reasonably contemplated and confirmed the compromise.
The order of the Industrial Commission confirming the compromise is not an appealable order.  Only orders denying or awarding compensation are subject to *Page 108 
judicial review.  Schneider Fuel  Supply Co. v. IndustrialComm. (1937) 224 Wis. 298, 301, 272 N.W. 25.  This order neither denies compensation nor does it make an award.
Sec. 102.16(1), Stats., under which the order of the commission was entered, reads:
"Any controversy concerning compensation, including any which the state may be a party, shall be submitted to said commission in the manner and with the effect provided in this chapter.  Every compromise of any claim for compensation may be reviewed and set aside, modified or confirmed by the commission within one year from the date such compromise is filed with the commission, or from the date an award has been entered, based thereon, or the commission may take such action upon application made within such year. . . ."
This section gives the commission the exclusive and absolute discretion to review, set aside, modify, or confirm compromises. The commission in the exercise of that power determined that at the time of the compromise a dispute existed between the parties and that the compromise was fair and equitable.  It has therefore confirmed the compromise.
No fraud is claimed and the circuit court, having no jurisdiction to review the order, properly dismissed the action.
By the Court. — Judgment affirmed. *Page 109 